         Case 1:19-cv-09033-JGK Document 44 Filed 01/29/20 Page 1 of 6


UNITED STATES DISTRICT COURT
                                                                         usot SONY
                                                                        DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                           ELECTRONICALL y FILED
---------------------------------------------------(                    DOC#
PHYTO TECH CORP. d/b/a BLUE CALIFORNIA,                                                ~.l!:_~q-~------...
                                                                        DJ\ TE FILED: ..

                                                                        Civil Action No.
                                      Plaintiff,
                                                                        1:19-cv-09033

v.



GIVAUDAN SA,


                                      Defendant.
---------------------------------------------------(
             ORDER REGARDING APPOINTMENT OF LIQUIDATING TRUSTEE

       WHEREAS, on September 27, 2019, Phyto Tech Corp. d/b/a Blue California ("Blue Cal")

filed suit seeking appointment of a liquidating trustee pursuant to 6 Del. C. § 18-803 to wind up the

affairs ofBGN Tech LLC ("BGN"), a limited liability ~ompany with members, Blue Cal and

Givaudan SA ("Givaudan") (collectively "Members");

       WHEREAS, BGN was dissolved upon Givaudan's notice of dissolution dated October 28,

2018, but has not been wound up, and there is good cause for the appointment of a liquidating

trustee to carry out the wind up;

       NOW, THEREFORE, this         2fday o~   !                 ~t).,)..0)
                                           f ' ~ , IT IS HEREBY ORDERED,

ADJUDGED and DECREED as follows:

        l.          Appointment ofLiquidating Trustee. Pursuant to 6 Del. C. § 18-803(a), Andrew

De Camara of Sherwood Partners, Inc. ("Sherwood") is hereby appointed as the liquidating trustee

ofBGN (the "Liquidating Trustee") with the powers and duties specified in this Order and under 6

Del. C. § 18-803.

       2.           Acceptance and Term ofAppointment ofLiquidating Trustee. The Liquidating

Trustee shall file in this Court a written acceptance of the appointment. The Liquidating Trustee
            Case 1:19-cv-09033-JGK Document 44 Filed 01/29/20 Page 2 of 6


shall serve at the pleasure of the Court, and the provisions of this Order shall remain in effect

pending further order of the Court.

       3.         General Powers ofLiquidating Trustee. The Liquidating Trustee shall have all

the powers generally available to a trustee appointed pursuant to 6 Del. C. § 18-803 and to the

persons winding up a dissolved limited liability company's affairs in accordance with 6 Del. C. §

18-803(b), unless the exercise of any said power would be inconsistent with any specific provision

of this Order or any other Order entered by the Court in this action. Upon appointment, the

Liquidating Trustee shall have full control and dominion over the dissolution and liquidation of

BGN and shall have access to all books and records ofBGN, subject to the terms of this Order.

       4.        Authority to Act. In addition to the general powers set forth in Paragraph 3, the

Liquidating Trustee is authorized and empowered with the sole and exclusive authority to exercise

all control, management and dominion over BGN. In performing its duties, the Liquidating

Trustee is authorized to sell, assign, encumber or otherwise dispose of any or all of the assets of

BGN and to wind up and liquidate the affairs ofBGN in an orderly and business-like manner;

provided, however, that, except as required under applicable law in order to satisfy any liabilities

of BGN to any creditors, the Liquidating Trustee shall not sell, distribute, exchange or otherwise

dispose of the Contributed IP, Blue Cal Contributed IP, the Givaudan Contributed IP, the Blue Cal

Background Licensed IP or the Blue Cal Future Licensed IP, as those terms are defined in the

BGN LLC Agreement, except in accordance with the provisions of Section 13.03 and Section

13.06 of the BGN LLC Agreement. The Liquidating Trustee shall cause to be prepared and

distributed to the Members a statement of the assets and liabilities of BGN (on a consolidated

basis) as of the date of dissolution. The Liquidating Trustee shall distribute the assets ofBGN's in

conformance with Section 13.03 of the BGN LLC Agreement, provided that such distributions

shall be made upon notice to the parties and approval of the Court. The Liquidating Trustee's

powers shall include the power (a) to initiate, prosecute, defend, or dismiss any and all pending

and future litigation by or on behalf of BGN, including, but not limited to any litigation or
         Case 1:19-cv-09033-JGK Document 44 Filed 01/29/20 Page 3 of 6


administrative matter with any government or regulatory entity; (b) to engage in business

discussions, negotiate to modify agreements, and/or resolve any disputes with any third party as

appropriate in the Liquidating Trustee's sole discretion; (c) to implement and confirm or ratify

any prior transactions approved by the BGN board of managers; (d) to wind up the affairs of

BGN in accordance with the terms of the Delaware Limited Liability Company Act (the "Act")

and the BGN LLC Agreement; and (e) to execute and/or deliver, or cause to be executed and/or

delivered, all assignments, instruments, pleadings, and documents necessary to carry out the

Liquidating Trustee's duties as outlined in this Order. The Liquidating Trustee may continue or

terminate the services to BGN of anyone, including, as applicable, present employees and

members, for the continued efficient and orderly operation ofBGN during the winding-up period.

The Liquidating Trustee also shall have authority, but shall not be required, to petition this Court

for instructions from time to time. Nothing in this Paragraph 4 shall in anyway curtail the

Liquidating Trustee's powers under Paragraph 3 of this Order and 6 Del. C. § 18-803(b). The

Liquidating Trustee may seek to modify the terms of this Order by application to the Court,

including by seeking supplemental authority, for good cause shown. For the avoidance of doubt,

the powers and authority enumerated in Paragraphs 3 and 4 of this Order shall vest in the

Liquidating Trustee immediately upon written acceptance of his appointment, which should be

filed with the Court promptly.

        5.         Waiver ofDuties. The Liquidating Trustee shall not be required to post a bond. In

lieu of these provisions, the Liquidating Trustee shall provide quarterly interim summary reports to

the Court following the date of this Order, until the winding up is complete. The Liquidating

Trustee will file such interim reports with the Court, with copies to counsel of record for the

parties in this action.

        6.        Consultation with Members. The Liquidating Trustee may, to the extent deemed

practical or necessary in his sole discretion, consult with the managers, members, or other parties in

interest of BGN (collectively, the "BGN Stakeholders") and/or their representatives with respect to
            Case 1:19-cv-09033-JGK Document 44 Filed 01/29/20 Page 4 of 6


winding up ofBGN, but shall not be subject to their direction or control, and shall not be required to

take any course of action the BGN Stakeholders otherwise would or would not take. The

Liquidating Trustee may periodically confer with the BGN Stakeholders and/or their representatives

by teleconference or in person, and, at the Liquidating Trustee's sole discretion, may meet with the

BGN Stakeholders and/or their representatives individually or together. At any time, any BGN

Stakeholder may request assistance or action from the Liquidating Trustee. Conferences between the

Liquidating Trustee and BGN Stakeholders shall occur at such intervals as the Liquidating Trustee

requests or otherwise deems appropriate. The BGN Stakeholders, BGN, and their employees and

agents shall cooperate with the Liquidating Trustee to wind up BGN and distribute BGN 's assets

as required by this Order, any other order of this Court and applicable law.

       7.        Presumptions; Good Faith Reliance. All actions taken by the Liquidating Trustee

pursuant to this Order shall be presumed to be taken on an informed basis, in good faith, and in

the honest belief that such actions taken were in the best interests ofBGN. In causing BGN to take

action, the Liquidating Trustee shall be fully protected to the fullest extent permitted by 6 Del. C.

§ 18-406 in relying in good faith upon the records ofBGN and upon information, opinions, reports

or statements presented by the managers, members, an officer or employee ofBGN, or by any

other person as to matters the Liquidating Trustee reasonably believes are within such other

person's professional or expert competence, including information, opinions, reports or statements

as to contracts, agreements or other undertakings that would be sufficient to pay claims and

obligations ofBGN or to make reasonable provision to pay such claims and obligations, or any

other facts pertinent to the winding up ofBGN. Any actions by the Liquidating Trustee may be

challenged in this Court, but shall be subject to reversal only after a finding by the Court that the

Liquidating Trustee abused his discretion.

       8.         Indemnification/Advancement and Exculpation. The appointment of the

Liquidating Trustee hereunder shall be binding upon the officers, managers, employees, directors

and members ofBGN. The Liquidating Trustee shall have no liability to BGN, its managers, its
         Case 1:19-cv-09033-JGK Document 44 Filed 01/29/20 Page 5 of 6


members, or any other person for acts taken in good faith pursuant to this Order, and none of the

members, nor any other person purporting to act as a director, manager, officer, employee, advisor

or member of BGN shall institute any legal proceeding other than in this Court challenging any

action, recommendation, or decision by the Liquidating Trustee in performing the duties

hereunder. The Liquidating Trustee shall be entitled to all protection, limitation from liability,

and immunity available at law or in equity to a Court-appointed Liquidating Trustee including,

without limitation, all protection, limitation from liability, and immunity provided by the

indemnification provisions of applicable law. Expenses, including attorneys' fees, incurred by

the Liquidating Trustee in defending any civil, criminal, administrative or investigative action,

suit or proceeding arising by reason of or in connection with the Liquidating Trustee's

designation as Liquidating Trustee for BGN, or in the performance of the duties hereunder,

shall be paid by BGN, in advance of the final disposition of such action, suit or proceeding

subject to the repayment of such amount if it shall be ultimately determined by this Court that

the Liquidating Trustee is not entitled to be indemnified under applicable Delaware law. The

Liquidating Trustee, in his or her sole discretion, may purchase appropriate and customary

insurance, with the premiums for such insurance to be paid with the assets of BGN.

       9.        Cancellation. Upon completion of the winding up ofBGN and the distribution of

the proceeds of dissolution pursuant to the BGN LLC Agreement, the Liquidating Trustee shall

submit a final report to this Court. Once the Court approves the final report, the Liquidating

Trustee shall execute and file a certificate of cancellation ofBGN in the Office of the Secretary of

State of the State of Delaware.

       10.       Compensation of the Liquidating Trustee. Fees. The Liquidating Trustee shall be

entitled to its fees ("Fees") equal to Sherwood's then applicable hourly rates (reduced by a 10%

discount). Andrew De Camara's currently applicable hourly rate (as discounted) will be $500 per

hour. Other Sherwood professional member discounted hourly rates will be between $300 and

$500 per hour. Sherwood's back-office accounting services will be billed at a discounted hourly
           Case 1:19-cv-09033-JGK Document 44 Filed 01/29/20 Page 6 of 6


rate of $150 per hour. Sherwood will invoice BGN for its services on a monthly basis. Sherwood

will provide a copy of its monthly invoice to the Members for their review. If the Members have

any objections to the monthly invoice, they must provide notice of objection to the Liquidating

Trustee within 10 business days of receipt of the invoice. At that time, the Liquidating Trustee and

the Members will discuss and attempt to resolve any objection. Ifno objection is received by

Sherwood within the 10 business day timeframe, the Liquidating Trustee will pay its' monthly

invoice.

       11.       Authority to Retain Advisors. The Liquidating Trustee, in his or her sole

discretion, may retain counsel or other professionals and/or advisors to advise the Liquidating

Trustee with respect to his or her duties under this Order, the Act, and the BGN LLC Agreement.

The Liquidating Trustee is authorized to utilize the services of professionals from a law firm, subject

to notice to the Members and appointment by the Court, and may use such attorneys as counsel at

their customary hourly rates. A Member shall file any objection with the Court to the retention of

any such advisor within 7 days of such notice. The fees and expenses of any advisors retained by

the Liquidating Trustee shall be paid by BGN from the assets ofBGN.

       12.        Continuation and Reservation ofJurisdiction. The Court reserves jurisdiction

over this matter and to consider any applications that the Liquidating Trustee may make for the

Court's assistance in addressing any problems encountered by the Liquidating Trustee in

performing his or her duties hereunder and any applications by any party arising out of or related

to any action or decision of the Liquidating Trustee or any of his or her agents.

       13.        Settlement. If the parties in this action reach a settlement regarding the

dissolution ofBGN ("Settlement"), the parties shall pron:ptly inform the Liquidating Trustee. If

the Liquidating Trustee determines, in his sole discretion, that such settlement is in the best

interests of the BGN Stakeholders, he may, in his sole discretion, seek Court approval of such

settlement and, as appropriate, the termination of his rights and obligations under this Order.
                                   So ~
                ~;?/c/-D                        ~~/(da/)(,S .1).::y-
